Case 2:03-cv-02244-SH|\/| Document 60 Filed 05/16/05 PagelofS Page|D O

Fn.ED s‘t~" o.c.

 

in THE UNITED sTATEs DIsTRlCT CoURT
FoR THE WEsTERN DISTRICT oF TENNEssEE q ` ,
WESTERN DIVISION 95 l‘**"l 15 fill 9- !U

 

 

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gm
MICHAEL LUSTER, will w i=~,
Plaimiff,
VS. NO. 03-2244-Ma

l\/lL TENNESSEE APARTMENTS, LP,
and EQUITY RESIDENTIAL PROPERTIES
MANAGEMENT CORPORATION,

Defendants.

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Bet`ore the court is the l\/Iay 13, 2005, motion for admission pro hac vice of Y. Kevin
Williams. l\/lr. Williams is a member in good standing of the bar of the States of Georgia. l\/lr.
Williams has obtained and is familiar With the local rules and professional guidelines of this
court.

For good cause shown, the motion is granted and Y. Kevin Williams is admitted to
participate in this action as counsel for defendant Equity Residential Properties Managernent

Corporation.

it is 30 oRDERED this m&day efMay, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Tms do for 79(3) FRCP on "

wlt'n F\Ul@ 58 and

UNITED sTATEs ISTRIC COURT - WESTERN DISITRCT oFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 60 in
case 2:03-CV-02244 Was distributed by faX, mail, or direct printing on
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Robert D. Flynn

SPICER FLYNN & RUDSTROM
80 l\/lonroe Ave.

Ste. 500

l\/lemphis7 TN 38103

Christopher T. Byrd

WEINBERG WHEELER HUDGINS GUNN & DIAL, LLC
950 East Paces Ferry Road

Ste. 3000

Atlanta, GA 30326

Danese K. Banks

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

l\/lemphis7 TN 38103

Y. Kevin Williams

WEINBERG WHEELER HUDGINS GUNN & DIALS, LLC
950 East Paces Ferry Road

Ste. 3000

Atlanta, GA 30326

Brian P. Strength

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

Jeffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 l\/lonroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

lock M. Smith

COCHRAN CHERRY GIVENS & Sl\/HTH
P.O. Box 830419

Tuskegee7 AL 36083

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Honorable Samuel Mays
US DISTRICT COURT

